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                                                                                   CIVIL,CLOSED,TRANSFERRED
                                        U.S. District Court
                   Eastern District of California − Live System (Sacramento)
                    CIVIL DOCKET FOR CASE #: 2:20−cv−00848−KJM−KJN

Caudel v. Amazon.Com, Inc.                                            Date Filed: 04/24/2020
Assigned to: Chief District Judge Kimberly J. Mueller                 Date Terminated: 03/28/2022
Referred to: Magistrate Judge Kendall J. Newman                       Jury Demand: Plaintiff
Demand: $5,000,000                                                    Nature of Suit: 385 Prop. Damage Prod. Liability
Cause: 28:1332 Diversity−Product Liability                            Jurisdiction: Diversity
Plaintiff
Amanda Caudel                                           represented by George Volney Granade , II
                                                                       Reese LLP
                                                                       8484 Wilshire Blvd.
                                                                       Suite 515
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                                                                       ATTORNEY TO BE NOTICED

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                   Case 2:22-cv-00401-RSM Document 47 Filed 03/28/22 Page 2 of 6
Plaintiff
Allison Carranza−Moreno                     represented by Carlos F. Ramirez , PHV
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

Plaintiff
Cathy Diomartich                            represented by Carlos F. Ramirez , PHV
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

Plaintiff
Shaney Scott                                represented by Carlos F. Ramirez , PHV
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED


V.
Defendant
Amazon.Com, Inc.                            represented by David T. Biderman
                                                           Perkins Coie LLP
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                                                          ATTORNEY TO BE NOTICED
                    Case 2:22-cv-00401-RSM Document 47 Filed 03/28/22 Page 3 of 6
Date Filed     #    Docket Text

04/24/2020    Ï1    COMPLAINT against Amazon.Com, Inc. by Amanda Caudel. Attorney Reese, Michael added.
                    (Filing fee $ 400, receipt number 0972−8861785) (Attachments: # 1 Civil Cover Sheet)(Reese,
                    Michael) (Entered: 04/24/2020)

04/27/2020    Ï2    SUMMONS ISSUED as to *Amazon.Com, Inc.* with answer to complaint due within *21* days.
                    Attorney *Michael Reese* *Reese Richman LLP* *875 Avenue of the Americas, 18th Floor*
                    *New York, NY 10001*. (Benson, A.) (Entered: 04/27/2020)

04/27/2020    Ï3    CIVIL NEW CASE DOCUMENTS ISSUED; Initial Scheduling Conference set for 9/3/2020 at
                    02:30 PM in Courtroom 3 (KJM) before Chief District Judge Kimberly J. Mueller. (Attachments: #
                    1 Standing Order, # 2 Consent Form, # 3 VDRP) (Benson, A.) (Entered: 04/27/2020)

05/27/2020    Ï4    NOTICE of APPEARANCE by George Volney Granade, II on behalf of Amanda Caudel. Attorney
                    Granade, George Volney added. (Granade, George) (Entered: 05/27/2020)

05/27/2020    Ï5    PRO HAC VICE APPLICATION and PROPOSED ORDER submitted by Amanda Caudel for
                    attorney Carlos F. Ramirez to appear Pro Hac Vice. (Filing fee $ 225, receipt number
                    0972−8908653) (Attachments: # 1 Certificate of Good Standing)(Granade, George) (Entered:
                    05/27/2020)

05/27/2020    Ï6    PRO HAC VICE APPLICATION and PROPOSED ORDER submitted by Amanda Caudel for
                    attorney Spencer Sheehan to appear Pro Hac Vice. (Filing fee $ 225, receipt number
                    0972−8908713) (Attachments: # 1 Certificate of Good Standing)(Granade, George) (Entered:
                    05/27/2020)

05/29/2020    Ï7    PRO HAC VICE ORDER signed by Chief District Judge Kimberly J. Mueller on 5/28/2020
                    ADDING Attorney Carlos F. Ramirez, PHV for Amazon.Com, Inc. (Kastilahn, A) Modified on
                    8/24/2020 (Coll, A). (Entered: 05/29/2020)

05/29/2020    Ï8    PRO HAC VICE ORDER signed by Chief District Judge Kimberly J. Mueller on 5/28/2020
                    ADDING Attorney Spencer Sheehan, PHV for Amazon.Com, Inc. (Kastilahn, A) (Entered:
                    05/29/2020)

07/16/2020    Ï9    WAIVER of SERVICE RETURNED EXECUTED: Waiver sent to Amazon.Com, Inc. on
                    7/16/2020, Answer due 9/14/2020 (Granade, George) (Entered: 07/16/2020)

08/27/2020   Ï 10   STIPULATION and PROPOSED ORDER for Setting Briefing Schedule and Continuing
                    Scheduling Conference by Amazon.Com, Inc.. Attorney Tobin, Thomas John added. (Tobin,
                    Thomas) (Entered: 08/27/2020)

08/28/2020   Ï 11   MINUTE ORDER issued by Courtroom Deputy C. Schultz for Chief District Judge Kimberly J.
                    Mueller: In light of the parties' stipulated agreement to allow Defendants an additional 28 days to
                    respond to the Complaint, ECF No. 1 , the parties' joint request to continue the Status (Pretrial
                    Scheduling) Conference is GRANTED, and the proposed briefing schedule on the anticipated
                    Motion to Dismiss is ADOPTED. See ECF No. 10 . Accordingly, the Status (Pretrial Scheduling)
                    Conference set for 9/3/2020 is RESET for 12/11/2020 at 10:00 AM, with the filing of a joint status
                    report due fourteen (14) days prior; Defendant's anticipated Motion to Dismiss in response to the
                    Complaint shall be filed no later than 10/12/2020, and noticed for hearing on 12/11/2020 at 10:00
                    AM before Chief Judge Kimberly J. Mueller; Plaintiff's Opposition shall be filed no later than
                    11/9/2020; and Defendant's Reply shall be filed by 11/23/2020. (Text Only Entry)(Schultz, C)
                    (Entered: 08/28/2020)

10/08/2020   Ï 12   STIPULATION and PROPOSED ORDER for Amending Briefing Schedule and Continuing
                    Scheduling Conference re 10 Stipulation and Proposed Order, 11 Minute Order by Amazon.Com,
                    Inc. (Tobin, Thomas) Modified on 10/9/2020 (Mena−Sanchez, L). (Entered: 10/08/2020)
                    Case 2:22-cv-00401-RSM Document 47 Filed 03/28/22 Page 4 of 6
10/14/2020   Ï 13   MINUTE ORDER issued by Courtroom Deputy C. Schultz for Chief District Judge Kimberly J.
                    Mueller: The parties' Joint Stipulation to Amend Briefing Schedule and Continuing Scheduling
                    Conference, ECF No. 12 , is GRANTED. Accordingly, the Status (Pretrial Scheduling) Conference
                    set for 12/11/2020 is RESET for 1/22/2021 at 10:00 AM, with the filing of a joint status report due
                    fourteen (14) days prior; Defendant's anticipated Motion to Dismiss in response to the Complaint
                    shall be filed no later than 10/26/2020, and noticed for hearing on 1/22/2021 at 10:00 AM before
                    Chief Judge Kimberly J. Mueller; Plaintiff's Opposition shall be filed no later than 11/23/2020; and
                    Defendant's Reply shall be filed by 12/9/2020. (Text Only Entry) (Schultz, C) (Entered:
                    10/14/2020)

10/26/2020   Ï 14   MOTION to DISMISS by Amazon.Com, Inc.. Motion Hearing set for 1/22/2021 at 10:00 AM in
                    Courtroom 3 (KJM) before Chief District Judge Kimberly J. Mueller. (Attachments: # 1
                    Memorandum of Points and Authorities, # 2 Declaration of Marcela Viegas, # 3 Declaration of
                    Thomas Tobin, # 4 Proposed Order)(Tobin, Thomas) Modified on 10/27/2020 (Kaminski, H).
                    (Entered: 10/26/2020)

10/26/2020   Ï 15   REQUEST for JUDICIAL NOTICE by Amazon.Com, Inc. in re 14 Motion to Dismiss,. (Tobin,
                    Thomas) (Entered: 10/26/2020)

11/24/2020   Ï 16   STIPULATION and PROPOSED ORDER for Amended Briefing Schedule re 14 Motion to
                    Dismiss by Amanda Caudel. (Reese, Michael) (Entered: 11/24/2020)

12/01/2020   Ï 17   STIPULATION and ORDER signed by Chief District Judge Kimberly J. Mueller on 11/30/2020
                    ORDERING that Plaintiff's Opposition to 14 Motion to Dismiss is due by 12/15/2020 and
                    Defendant's Reply is due by 1/8/2021. (Huang, H) (Entered: 12/01/2020)

12/15/2020   Ï 18   OPPOSITION by Amanda Caudel to 14 Motion to Dismiss,. (Attachments: # 1 Declaration of
                    Carlos Ramirez)(Ramirez, Carlos) (Entered: 12/15/2020)

12/28/2020   Ï 19   PRO HAC VICE APPLICATION and PROPOSED ORDER submitted by Amazon.Com, Inc. for
                    attorney Charles C. Sipos to appear Pro Hac Vice. (Filing fee $ 225, receipt number
                    0972−9326248) (Tobin, Thomas) (Entered: 12/28/2020)

12/28/2020   Ï 20   EXHIBIT Certificate of Good Standing by Amazon.Com, Inc. re 19 Pro Hac Vice Application.
                    (Tobin, Thomas) (Entered: 12/28/2020)

12/29/2020   Ï 21   PRO HAC VICE ORDER signed by Chief District Judge Kimberly J. Mueller on 12/28/2020.
                    Added attorney Charles Sipos, PHV for Amazon.Com, Inc. (Coll, A) (Entered: 12/29/2020)

12/31/2020   Ï 22   STIPULATION and PROPOSED ORDER for Amending Briefing Schedule and Continuing
                    Scheduling Conference by Amazon.Com, Inc. (Tobin, Thomas) Modified on 1/4/2021 (Huang, H).
                    (Entered: 12/31/2020)

01/05/2021   Ï 23   MINUTE ORDER issued by Courtroom Deputy C. Schultz for Chief District Judge Kimberly J.
                    Mueller: In light of the time needed for Defendant to file a reply, the parties' Joint Stipulation
                    Amending Briefing Schedule, ECF No. 22 , is GRANTED. Accordingly, the Motion Hearing as to
                    Defendant's Motion to Dismiss, ECF No. 14 , set for 1/22/2021 is RESET for 2/19/2021 at 10:00
                    AM, with Defendant's reply brief due no later than 1/15/2021. It is FURTHER ORDERED, that on
                    the court's own motion the Status (Pretrial Scheduling) Conference set for 1/22/2021 is RESET for
                    2/19/2021 at 10:00 AM, with the filing of a joint status report due fourteen (14) days prior. The
                    February Status Conference and Motion Hearing will proceed before Chief District Judge Kimberly
                    J. Mueller by video conferencing through the Zoom application. The Courtroom Deputy will
                    provide counsel with the hearing access information no later than 10:00 AM on 2/18/2021.(Text
                    Only Entry)(Schultz, C) (Entered: 01/05/2021)

01/15/2021   Ï 24   REPLY by Amazon.Com, Inc. re 14 Motion to Dismiss. (Tobin, Thomas) (Entered: 01/15/2021)
                    Case 2:22-cv-00401-RSM Document 47 Filed 03/28/22 Page 5 of 6
01/27/2021   Ï 25   STIPULATION and PROPOSED ORDER for Continuing Hearing and Scheduling Conference by
                    Amazon.Com, Inc.. (Tobin, Thomas) (Entered: 01/27/2021)

02/01/2021   Ï 26   MINUTE ORDER issued by Courtroom Deputy C. Schultz for Chief District Judge Kimberly J.
                    Mueller on 2/1/2021: This court, having reviewed the parties' Stipulation for Continuing Motion
                    Hearing and Scheduling Conference, ECF No. 25 , RESETS the 2/19/2021 Status Pretrial
                    Scheduling Conference to 4/16/2021 at 10:00 AM before Chief District Judge Kimberly J. Mueller,
                    with the filing of a Joint Status Report due no less than fourteen (14) days prior. The court also
                    RESETS the Motion Hearing as to Defendant's Motion to Dismiss, ECF No. 14 , to 4/16/2021 at
                    10:00 AM before Chief District Judge Kimberly J. Mueller. (Text Only Entry) (Schultz, C)
                    (Entered: 02/01/2021)

04/02/2021   Ï 27   JOINT STATUS REPORT by Amazon.Com, Inc.. (Tobin, Thomas) (Entered: 04/02/2021)

04/06/2021   Ï 28   MINUTE ORDER issued by Relief Courtroom Deputy M. York for Chief District Judge Kimberly
                    J. Mueller on 4/6/2021: On the court's own motion and pursuant to Local Rule 230(g), Defendant's
                    Motion to Dismiss, ECF No. 14 , is SUBMITTED without oral argument. Accordingly, the hearing
                    date of 4/16/2021, is VACATED. If the court determines that oral argument is needed, it will be
                    scheduled at a later date. It is FURTHER ORDERED that the Status Pretrial Scheduling
                    Conference set for 4/16/2021, is RESET for 6/17/2021, at 2:30 PM, before Chief Judge Kimberly J.
                    Mueller, with the filing of an updated joint status report due fourteen (14) days prior. (Text Only
                    Entry) (York, M) (Entered: 04/06/2021)

04/21/2021   Ï 29   NOTICE of SUPPLEMENTAL AUTHORITY by Amanda Caudel re 18 Opposition to Motion.
                    (Attachments: # 1 Exhibit A)(Ramirez, Carlos) (Entered: 04/21/2021)

04/29/2021   Ï 30   RESPONSE by Amazon.Com, Inc. to 29 Notice of Supplemental Authority. (Tobin, Thomas)
                    (Entered: 04/29/2021)

06/03/2021   Ï 31   JOINT STATUS REPORT by Amazon.Com, Inc.. (Tobin, Thomas) (Entered: 06/03/2021)

06/03/2021   Ï 32   MINUTE ORDER issued by Courtroom Deputy C. Schultz for Chief District Judge Kimberly J.
                    Mueller on 6/3/2021: In light of the pending Motion to Dismiss, ECF No. 14 , the Status (Pretrial
                    Scheduling) Conference set for 6/17/2021 is RESET for 9/30/2021 at 2:30 PM before Chief District
                    Judge Kimberly J. Mueller, with the filing of an updated joint status report due fourteen (14) days
                    prior. The September Hearing will proceed by video conferencing through the Zoom application.
                    The Courtroom Deputy will provide counsel with the hearing access information no less than 24
                    hours before the hearing (Text Only Entry)(Schultz, C) (Entered: 06/03/2021)

07/14/2021   Ï 33   NOTICE of Supplemental Authority by Amazon.Com, Inc. (Sipos, PHV, Charles) (Entered:
                    07/14/2021)

09/14/2021   Ï 34   JOINT STATUS REPORT by Amazon.Com, Inc.. (Tobin, Thomas) (Entered: 09/14/2021)

09/21/2021   Ï 35   MINUTE ORDER issued by Courtroom Deputy C. Schultz for Chief District Judge Kimberly J.
                    Mueller on 9/21/2021: In light of the pending Motion to Dismiss, ECF No. 14 , the Status (Pretrial
                    Scheduling) Conference set for 9/30/2021 is RESET for 12/2/2021 at 2:30 PM before Chief District
                    Judge Kimberly J. Mueller, with the filing of an updated joint status report due fourteen (14) days
                    prior. The December Hearing will proceed by video conferencing through the Zoom application.
                    The Courtroom Deputy will provide counsel with the hearing access information no less than 24
                    hours before the hearing. (Text Only Entry)(Schultz, C) (Entered: 09/21/2021)

10/15/2021   Ï 36   ORDER signed by Chief District Judge Kimberly J. Mueller on 10/15/21 GRANTING 14 Motion
                    to Dismiss; Plaintiffs may file an amended complaint within 30 days, if they are able to do so while
                    complying with FRCP 11. (Benson, A.) (Entered: 10/15/2021)

11/18/2021   Ï 37
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                    ORDER to SHOW CAUSE signed by Chief District Judge Kimberly J. Mueller on 11/17/21
                    ORDERING plaintiff to show cause why the court should not dismiss and close this case for
                    plaintiff's failure to prosecute and comply with court orders. Plaintiff shall file a response within
                    fourteen days. The court vacates the December 2 Status (Pretrial Scheduling) Conference and resets
                    it for 3/10/2022 at 02:30 PM. The parties shall file a joint status report fourteen days prior to the
                    March 10th date if it remains on calendar. (Kaminski, H) (Entered: 11/18/2021)

12/01/2021   Ï 38   RESPONSE to 37 Order to Show Cause by Amanda Caudel. (Attachments: # 1 Amended Class
                    Action Complaint)(Ramirez, Carlos) Modified on 12/2/2021 (Coll, A). (Entered: 12/01/2021)

12/22/2021   Ï 39   MINUTE ORDER issued by Relief Courtroom Deputy L. Kennison for Chief District Judge
                    Kimberly J. Mueller on 12/22/2021: The court DISCHARGES the Order to Show Cause, ECF No.
                    37 . Plaintiff's Amended Complaint shall be filed by 1/11/2022. (Text Only Entry)(Kennison, L)
                    (Entered: 12/22/2021)

01/05/2022   Ï 40   FIRST AMENDED COMPLAINT against All Defendants by Amanda Caudel, Allison
                    Carranza−Moreno, Cathy Diomartich, Shaney Scott. Attorney Ramirez, Carlos F. added.(Ramirez,
                    Carlos) (Entered: 01/05/2022)

01/18/2022   Ï 41   STIPULATION and PROPOSED ORDER for Extending Time for Defendant to Respond to 40
                    First Amended Complaint by Amazon.Com, Inc. (Tobin, Thomas) (Entered: 01/18/2022)

01/21/2022   Ï 42   ORDER signed by Chief District Judge Kimberly J. Mueller on 1/20/2022 EXTENDING 41 to
                    2/22/2022 that defendant's time for filing its responsive pleading to 40 the First Amended
                    Complaint.(Reader, L) (Entered: 01/21/2022)

02/22/2022   Ï 43   STIPULATION and PROPOSED ORDER Extending Time for Defendant to Respond re 40
                    Amended Complaint by Amazon.Com, Inc. (Tobin, Thomas) Modified on 2/24/2022
                    (Mena−Sanchez, L). (Entered: 02/22/2022)

02/25/2022   Ï 44   MINUTE ORDER issued by Courtroom Deputy C. Schultz for Chief District Judge Kimberly J.
                    Mueller on 2/25/2022: The parties' Joint Stipulation for Extension of Time, ECF No. 43 , is
                    GRANTED. Accordingly, Defendant's response to Plaintiffs' First Amended Complaint, ECF No.
                    40 , shall be filed on or before 03/24/2022. It is FURTHER ORDERED that the Status (Pretrial
                    Scheduling) Conference set for 3/10/2022 is RESET for 04/21/2022 at 2:30 PM before Chief
                    District Judge Kimberly J. Mueller, with the filing of a joint status report due fourteen days prior.
                    (Text Only Entry) (Schultz, C) (Entered: 02/25/2022)

03/22/2022   Ï 45   STIPULATION and PROPOSED ORDER for Transferring Venue to the USDC for the Western
                    District of Washington by Amazon.Com, Inc.. (Sipos, PHV, Charles) (Entered: 03/22/2022)

03/28/2022   Ï 46   STIPULATION and ORDER signed by Chief District Judge Kimberly J. Mueller on 3/25/2022
                    TRANSFERRING this case to the USDC, Western District of Washington. CASE
                    TRANSFERRED. (Huang, H) (Entered: 03/28/2022)
